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                       Exhibit C
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                                 UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY




         CHAMBERS OF                                                     UNITED STATES COURTHOUSE
       JOEL SCHNEIDER                                                     ONE JOHN F. GERRY PLAZA
UNITED STATES MAGISTRATE JUDGE                                          Fourth & Cooper Streets, Room 2060
                                                                           Camden, New Jersey 08101
                                                                                  (856) 757-5446

                                         LETTER ORDER
                                      ELECTRONICALLY FILED
                                       January 25, 2019

     Andrew W. Milz, Esquire                      Daniel J.T. McKenna, Esquire
     Flitter Milz, P.C.                           Ballard Spahr, LLP
     525 Route 73 South                           210 Lake East Drive
     Suite 200                                    Suite 200
     Marlton, NJ 08053                            Cherry Hill, NJ 08002


           Re:         Reilly v. Vivint Solar
                       Civil No. 18-12356 (NLH/JS)

     Dear Counsel:

          This Letter Order addresses plaintiff’s request to expand the
     geographic scope of discovery directed to complaints about
     defendant’s sales practices. The Court’s September 21, 2017 [Doc.
     No. 23] Order in Littlejohn limited discovery to Pennsylvania, New
     Jersey and Delaware. Plaintiff originally requested nationwide
     discovery.   At the recent oral argument on January 22, 2019,
     plaintiff limited his request to only those states where defendant
     used a Power Purchase Agreement (“PPA”).

          For the reasons to be discussed plaintiff’s discovery request
     is granted in part and denied in part. Plaintiff’s discovery is
     directed to finding out if defendant has a company wide pattern or
     practice of engaging in the alleged illegal practices at issue in
     the case.    Plaintiff has proffered that a number of similar
     incidents have occurred around the country. The Court finds that
     the requested documents are relevant to plaintiff’s claims.
     Relying on a number of alleged similar instances around the
     country, plaintiff has presented a plausible argument that there
     are endemic problems with defendant’s sales practices. Of course,
     the Court is not ruling on the merits of plaintiff’s claims or
     whether plaintiff’s discovery is admissible at trial.




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     Nevertheless, plaintiff’s request for discovery in all states
where the PPA is used is disproportional to the importance of the
discovery. Plaintiff already has extensive discovery and the
present case arises from an incident that occurred in New Jersey.
Accordingly, the Court limits discovery to the three (3) states
plaintiff identified as most important: California, Massachusetts,
and Maryland. Also, rather than five (5) years, the time period
for relevant discovery is January 1, 2014 through December 31,
2016.

     Accordingly, it is hereby ORDERED defendant shall produce by
February 22, 2019, for the time period of January 1, 2014 through
December 31, 2016, all complaints from California, Massachusetts,
and Maryland, where it was alleged defendant pulled the credit
report of a customer or prospective customer without consent or
defendant forged someone’s signature. Defendant shall produce the
information in a spreadsheet format similar to the spreadsheet
produced in Littlejohn. Defendant shall exclude the information
the Court designated as privileged or work-product.

     It is further ORDERED all present scheduling deadliness shall
remain in place.

                                           Very truly yours,

                                           s/Joel Schneider
                                           JOEL SCHNEIDER
                                           United States Magistrate Judge

JS:aks
cc: Hon. Noel L. Hillman




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